   Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 1 of 43 PageID #:5597




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                   )
 ART AKIANE LLC,                                   )
                                                   )
        Plaintiff,                                 )
                                                   )
 v.                                                )   Civil Action No.: 19-cv-02952
 ART & SOULWORKS LLC,                              )
 CAROL CORNELIUSON,                                )   SECOND AMENDED
 CARPENTREE, LLC, and VIRGINIA                     )   COMPLAINT
 HOBSON,                                           )   JURY TRIAL DEMANDED
                                                   )
        Defendants.                                )

                                                   )
 ART & SOULWORKS LLC, and                          )
 CAROLYNE CORNELIUSON,                             )
                                                   )
        Defendants-Counter-Plaintiffs,             )
 v.                                                )
                                                   )
 ART AKIANE LLC,                                   )
                                                   )
        Plaintiff-Counter-Defendant,               )
 and                                               )
                                                   )
 AKIANE ART GALLERY, LLC, and
 AKIANE KRAMARIK,                                  )
                                                   )
            Counter-Defendants.                    )
                                                   )

                             SECOND AMENDED COMPLAINT

       1.       Plaintiff Art Akiane LLC (“Art Akiane”) brings this action against Defendants

Carol Corneliuson (“Corneliuson”), Art & SoulWorks LLC (“ASW”), Carpentree, LLC

(“Carpentree”), and Virginia a/k/a “Ginny” Hobson (“Hobson”) (collectively “Defendants”)

because of Defendants’ illicit copying and distribution of Akiane Kramarik’s artwork, trademark

infringement, deceptive trade practices, unfair competition, and Defendants’ other violations of

federal and state law.


                                               1
   Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 2 of 43 PageID #:5598




       2.      Akiane Kramarik is an internationally renowned artist who has been recognized as

a gifted child prodigy and garnered international acclaim for her works. She has appeared on the

Oprah Winfrey Show, and been featured on the Katie Couric Show, World News Tonight, Good

Morning America, CNN, The View, Fox News, the Montel Williams Show, and many others.

       3.      In 2007, Art Akiane licensed to ASW the right to print certain artwork on

bookmarks, journals, wallet cards, calendars, and greeting cards for sale, through her licensing

company, Art Akiane LLC, the plaintiff in this matter. ASW was required to pay a 10% royalty

fee to Art Akiane for items sold under the license. The license expired on January 11, 2019.

       4.      Unknown to Art Akiane, Corneliuson and ASW hid and underreported sales, made

and sold counterfeit works, and printed and distributed illicit copies of Akiane’s artwork.

       5.      For instance, before and after ASW’s license expired in January 2019, Corneliuson

and ASW printed various illicit and counterfeit versions of Art Akiane’s artwork without

permission, and then sold the illicit artwork to consumers on ASW’s website and via various

vendors, including Defendant Carpentree. Carpentree then sold the illicit and counterfeit artwork

to consumers and other resellers.

       6.      Defendants also took postcards and wallet cards and framed them to look like

legitimate framed artwork by Akiane, in order to deceive customers into thinking that they were

purchasing legitimate artwork by Akiane.

       7.      Furthermore, Corneliuson and ASW further induced the public to download illegal

“free” copies of Akiane’s artwork from ASW’s website before and after the licensing agreement

expired, and Corneliuson and ASW continue to misrepresent that they are the authorized source

and representatives of Akiane’s artwork.




                                                 2
     Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 3 of 43 PageID #:5599




        8.     For instance, ASW’s website states that ASW is the “[t]rusted [s]ource for ‘Prince

of Peace’ high-quality reproductions” and “everyone who visits Art & SoulWorks is invited to

download a portrait of Jesus, free of charge.” See, e.g. Exhibit A.

        9.     Upon information and belief, Corneliuson and ASW also hid sales of Akiane

products and underreported revenue by at least $464,730.26, and kept royalties that should have

been paid to Art Akiane.

        10.    Accordingly, Art Akiane seeks relief from this Court.

I.      THE PARTIES

        11.    Art Akiane LLC is an Illinois limited liability company with its principal place of

business at 833 Central Ave., Unit 1250, Highland Park, IL 60035. Art Akiane is the intellectual

property holding company of Akiane Kramarik, and Akiane Kramarik has transferred all right,

title and interest in her artwork, and name and likeness, to Art Akiane.

        12.    Upon information and belief, Art & SoulWorks LLC is a Colorado limited liability

company with its principal place of business at 214 Ranch Road, Evergreen, CO 80439.

        13.    Corneliuson is an individual who, on information and belief, resides at 214 Ranch

Road, Evergreen, CO 80439. Upon information and belief, Corneliuson is the owner and sole

member of Art & SoulWorks LLC.

        14.    Upon information and belief, Carpentree, LLC is an Oklahoma corporation with its

principal place of business at 9410 East 54th Street, Tulsa, OK 74145.

        15.    Hobson is an individual who, on information and belief, resides at 14016 W. 31st

Street, Sand Springs, OK 74063. Upon in formation and belief, Hobson owns and controls

Carpentree.




                                                 3
      Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 4 of 43 PageID #:5600




II.      STATUTORY BASIS AND NATURE OF ACTION

         16.   This action is for: (1) copyright infringement under the Copyright Act, 17 U.S.C.

§§ 101, et seq.; (2) unfair competition of false designation of origin under § 43(a) of the Lanham

Act, 15 U.S.C. § 1125(a); (3) unfair competition under Illinois common law; (4) deceptive trade

practices under the Illinois Uniform Deceptive Trade Practices Act, 815 ILCS §§ 510/1-510/7; (5)

unjust enrichment under Illinois common law; (6) removal and alteration of copyright management

information under the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. § 1202; (7)

violation of the Anti-Cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d); (8) tortious

interference with a prospective economic advantage under Illinois common law; (9) violation of

the Illinois Right of Publicity Act, 765 ILCS § 1075/1-60; and (10) breach of contract under Illinois

common law.

         17.   Art Akiane seeks preliminary and permanent injunctive relief, and an award of

profits and statutory damages, among other remedies.

III.     JURISDICTION AND VENUE

         18.   This Court has subject matter jurisdiction to hear and determine this controversy

pursuant to 28 U.S.C. §§ 1331 and 1338 because the action arises under the federal Copyright Act

and Lanham Act. See 17 U.S.C. §§ 101, et seq.; 15 U.S.C. §§ 1051, et seq.

         19.   This Court has supplemental jurisdiction to hear and determine the state law claims,

which arise under the statutory and common laws of the State of Illinois, pursuant to 28 U.S.C. §

1367(a), because the state law claims are so related to the federal claims that they form part of the

same case or controversy under Article III of the United States Constitution and derive from a

common nucleus of operative facts.




                                                 4
   Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 5 of 43 PageID #:5601




       20.     This Court also has diversity jurisdiction over this matter pursuant to 28 U.S.C. §

1332, in that complete diversity of citizenship between the parties exists, and the amount in

controversy exceeds the sum or value of $75,000, exclusive of interests and costs.

       21.     Venue and personal jurisdiction are proper in the Northern District of Illinois under

28 U.S.C. § 1391(b) and (c) because a substantial part of the events giving rise to the claims herein

occurred in this District and Defendants have promoted infringing goods in this District.

       22.     This Court has personal jurisdiction over Defendants because Defendants have

continuous and systematic contacts with the state of Illinois, because they have purposefully

directed their activities toward the state of Illinois, causing harm suffered in the state of Illinois,

and because this action is based upon activities that arise out of or relate to those contacts.

Defendants also target consumers in Illinois in the sale of goods, and Corneliuson and ASW had

contracted with Plaintiff, an Illinois company.

IV.    FACTUAL BACKGROUND

       A.      Akiane Kramarik and Art Akiane

       23.     Akiane comes from humble beginnings, having been born and raised in abject

poverty. She began creating her artwork, including many of the Works (as defined in paragraph

30 below) at age four. Despite the challenges she faced growing up, she worked hard to develop

her artistic talent, creating hundreds of original and renowned masterpieces over the past two

decades.

       24.     Throughout her young life, Akiane developed her skillset through no formal

training: she began drawing complex and sophisticated artwork utilizing different mediums

including candles, charcoal, and pencils; at the age of six, she began painting; by the age of seven,

Akiane was knowledgeable in the use of color pastels and acrylic paints; and at the age of eight,




                                                  5
   Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 6 of 43 PageID #:5602




she had completed a five-foot long oil painting mastering realism, and was already holding solo

art exhibitions.

       25.     Akiane’s art has been showcased in numerous galleries and developed an

international fan base that continues to grow. She has received extensive media coverage in

Australia, China, Brazil, Japan, Korea, Russia, Ireland, England, Scotland, the Netherlands,

France, Hungary, Poland, Lithuania, Latvia, Canada, the Middle East, and Norway.

       26.     Akiane’s online gallery, located at www.akiane.com, has had nearly 450 million

global visitors over the past decade. Her art exhibitions have been featured in museums, galleries,

embassies, universities, institutes, churches, and corporations all around the world.

       27.     She has also been featured in documentaries and made hundreds of media

appearances. In addition to the shows mentioned above, she has been featured on the Glen Beck

Program, The Late Late Show, Lou Dobbs Tonight, Hour of Power, Superhuman: Genius, The

Indigo Evolution, Miracle Detectives, Extreme Prophetic, Trinity Broadcast Network, Supreme

Master Television, and Super Kids.

       28.     Akiane has raised hundreds of thousands of dollars globally through her charity

auctions and art exhibits for the impoverished, and she has used her talents and artwork to

contribute to over two hundred international and charitable foundations and fundraisers, including

Northwest Medical Teams and the Smile Network.

       29.     Due to her immense talent and fan base, Akiane has even been portrayed in the New

York Times best-selling book Heaven is For Real, which was adapted into a 2014 film produced

by Sony Pictures.




                                                 6
   Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 7 of 43 PageID #:5603




           30.      Akiane’s name and persona have developed enormous commercial value in

promoting her artwork as a result of the public’s widespread knowledge and admiration of her

talents.

           31.      Akiane assigned the copyright registrations for the Works to Art Akiane. Art

Akiane owns all necessary rights to the following copyrights, registered at the U.S. Copyright

Office, for the following visual works of art (the “Works”):

                 Title of Work             Registration No.                      Work



             Prince of Peace                VA 1-921-911




                 Father Forgive
                                            VA 1-960-272
                  Them




                     Jesus                  VA 2-142-942




                   Barefoot                 VA 2-010-303




                     I AM                   VA 2-010-300




                                                  7
Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 8 of 43 PageID #:5604




      Title of Work            Registration No.                   Work



      Mother’s Love             VA 1-925-543




        Innocence               VA 2-010-352




      On My Knees               VA 1-924-181




          Hope                  VA 1-925-448




       Co-Creation              VA 1-924-158




        The Swing               VA 2-011-840




       Love at First
                                VA 1-924-183
       Sight




                                      8
   Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 9 of 43 PageID #:5605




             Title of Work                Registration No.                          Work



              Vulnerable                     VA 2-010-397




       32.      Attached as Exhibit B are true and correct copies of the certificates of registration

or registration information for the Works.

       33.      The Works are original works of authorship, all created between 2002 and 2018.

Akiane is the sole author of the Works.

       34.      As the owner of the above-listed Works and pursuant to Section 106 of the

Copyright Act, Art Akiane has the exclusive right to reproduce the Works, prepare derivative

works of them, distribute copies to the public, and display the Works publicly.

       35.      Art Akiane owns all right, title and interest in and to Akiane’s name and likeness.

       36.      Since at least as early as 2003, Art Akiane has also been substantially and

continuously using the name and likeness of Akiane in the marketing and sale of the Works.

       37.      Art Akiane owns all right, title and interest in and to Art Akiane and Akiane’s

trademarks, which are imprinted on the Works that Art Akiane sells, and are extensively used in

online and media advertising. By virtue of the quality and nature of the goods offered under the

trademarks, the extensive sales, advertising, provision, marketing and promotion under the

trademarks, and the substantially exclusive and continuous use of the trademarks for over 16 years

for and in connection with the Works, the trademarks have come to symbolize and identify a source

of great and valuable goodwill for and in connection with Art Akiane’s goods.

       38.      Art Akiane has used its trademarks in commerce throughout the United States

continuously since at least 2003 for the distribution, provision, sale, marketing, advertising, and


                                                  9
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 10 of 43 PageID #:5606




promotion of the goods associated with its marks. Attached as Exhibit C is a representative sample

showing Art Akiane’s use of its trademarks (the “AKIANE Marks”) in connection with these

goods.

         39.   As a result of its widespread, continuous, and exclusive use of the AKIANE Marks

to identify its goods and Art Akiane as their source, Art Akiane owns valid and subsisting rights

to the AKIANE Marks.

         40.   The AKIANE Marks are distinctive to both the consuming public and to those in

Art Akiane’s industry.

         41.   Art Akiane has expended substantial time, money, and resources marketing,

advertising, and promoting the goods sold under the AKIANE Marks, including through online

blog posts, speaking engagements, attendance and participation at media events, and publishing

books and newsletters about Akiane. See, e.g. Exhibit D. Art Akiane has expended significant

resources on the marketing, advertising, and promotion of the goods sold under the AKIANE

Marks.

         42.   Consumers understand and see that the Art Akiane goods originate from Art

Akiane. As a result of Art Akiane’s considerable expenditures and efforts, the AKIANE Marks

have come to signify the high quality of the goods designated by the AKIANE Marks, and acquired

incalculable distinction, reputation, and goodwill belonging exclusively to Art Akiane.

         43.   Art Akiane has protected and enforced its AKIANE Marks against past

infringements, including sending numerous cease and desist letters to infringers.

         B.    Corneliuson’s and ASW’s Illicit Printing

         44.   ASW is a business entity that profits from selling religiously themed art, ornaments,

home décor, and other various goods to consumers.




                                                10
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 11 of 43 PageID #:5607




       45.        Upon information and belief, Corneliuson is the owner and sole member of ASW.

ASW, at the direction of Corneliuson, sells products on its website, which it also utilizes to

promote and sell its goods. Exhibit E. At Corneliuson’s direction and with her knowledge, ASW

sells products on various e-commerce stores such as Amazon, eBay, Carpentree, Christianbooks,

Mardel, and others. See, e.g. Exhibit F.

       46.        Upon information and belief, Corneliuson directs and controls the operations of

ASW, ASW’s websites https://art-soulworks.com and www.jesusprinceofpeace.com, and ASW’s

social media, including its Facebook page at www.facebook.com/jesusprinceofpeace, its Twitter

page         at      https://twitter.com/ArtnSoulworks,      its     Instagram      page       at

https://www.instagram.com/jesus_art_akiane/, and its Pinterest page. See, e.g. Exhibit G.

       47.        On January 11, 2007, Art Akiane and ASW entered into a licensing agreement (the

“Agreement”), which expired on January 11, 2019. Exhibit H.

       48.        Art Akiane licensed the copyrighted paintings “Prince of Peace” (Reg. VA 1-921-

911), Father Forgive Them (Reg. VA 1-960-272), Trust (Reg. VA 1-925-445), Love at First Sight

(Reg. VA 1-924-183), Blessing (Reg. VA 1-924-543), The Challenge (Reg. VA 1-924-186), and

Mother’s Love (VA 1-925-543), to ASW to be reproduced and printed on bookmarks, journals,

wallet cards, calendars, deck cards, and greeting cards for Corneliuson and ASW to sell to

consumers.

       49.        Unknown to Art Akiane, and upon information and belief, Corneliuson and ASW

have been copying, modifying, displaying, distributing, and selling Art Akiane’s other Works,

despite never having been granted licensing rights to do so under the Agreement.

       50.        Corneliuson and ASW have at a minimum sold and printed the following Works

without authorization from Art Akiane:




                                                 11
Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 12 of 43 PageID #:5608




        Dimension                Title of Work                    Work


          8x10
                                Prince of Peace
 Custom Paper Print




          9x12
                                Prince of Peace
    Canvas, OE




           12x16
                                Prince of Peace
     Paper Print




         2x3 inch
                                Prince of Peace
    Wallet Cards




           11x14
                                Prince of Peace
     Paper Print




          2x7
                                Prince of Peace
     Bookmarks




           11x14
                                     Jesus
     Paper Print




                                     12
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 13 of 43 PageID #:5609




             Dimension                    Title of Work                             Work


            2x3 inch
                                               Jesus
       Wallet Cards




             11 x 14
                                              I AM
        Paper Print




       51.    Unknown to Art Akiane, Corneliuson and ASW illicitly printed and sold excessive

numbers of prints exceeding Art Akiane’s approval.

       52.    For instance, unknown to Art Akiane, and upon information and belief, Corneliuson

and ASW printed:

              a.       469 8x10 Prince of Peace paper prints in excess of the 500 prints they

                       purchased from Art Akiane;

              b.       printed and sold over 834 9x12 Prince of Peace canvas prints in excess of

                       the 300 prints they purchased from Art Akiane;

              c.       printed and sold 3,000 12x16 Prince of Peace paper prints in excess of the

                       600 prints they purchased from Art Akiane;

              d.       printed 400 11x14 Jesus paper print without authorization;

              e.       printed 100 11x14 “I AM” paper print without authorization;

              f.       printed 2,000 11x14 Prince of Peace paper prints;

              g.       printed over 114,800 2x3 Prince of Peace wallet cards without

                       authorization;

              h.       printed 5,000 2x3 inch Jesus wallet cards without authorization; and


                                               13
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 14 of 43 PageID #:5610




               i.      printed 10,000 Prince of Peace bookmarks without authorization.

       53.     Defendants sold the illicit prints to various customers.

       54.     ASW abused and exceeded its rights under the Agreement when it printed without

permission, illicit versions of Art Akiane’s artwork.

       55.     For instance, while only having rights to sell postcards, Defendants printed framed

postcards so that they would look like legitimate framed artwork by Akiane.

       56.     An example of Defendants’ illegitimate work is found below:




       57.     Defendants also digitally modified the Prince of Peace work, printed it on wallet

cards, added “Copyright by Arts & Soulworks,” and framed the wallet cards so it would look like

legitimate framed artwork by Akiane.

       58.     An example of Defendants’ illegitimate work is found below:




                                                14
Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 15 of 43 PageID #:5611




                                     15
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 16 of 43 PageID #:5612




       59.     Defendants impermissibly took postcards and wallet cards and framed these items

to look like legitimate framed artwork by Akiane, when in reality, these items were not legitimate




                                               16
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 17 of 43 PageID #:5613




artwork, but merely postcards and wallet cards that were framed by Defendants in order to deceive

customers into thinking that they were purchasing legitimate artwork by Akiane.

       60.     Corneliuson’s and ASW’s illicit artwork were also often of an inferior quality. For

instance, the illicit artwork was often framed on cardboard, and used low quality colors and

materials.

       C.      Corneliuson’s and ASW’s Illicit Sales

       61.     Unknown to Art Akiane, and upon information and belief, Corneliuson and ASW

sold its illicit artwork through online vendors, including Carpentree, Mardel, Christianbook, St.

Judge Shop, and Amazon. See, e.g. Exhibit I.

       62.     Carpentree then sold the framed illicit artwork to consumers at a significant mark-

up. For instance, upon information and belief, Carpentree framed a 3x4 inch Prince of Peace wallet

card to make it look like it was a legitimate framed artwork by Akiane.

       63.     Carpentree then sold this illicit artwork to customers. See, e.g. Exhibit J.

       64.     Carpentree’s sales were illicit and not approved by Art Akiane and the copying,

redistribution, and sale of Art Akiane’s work directly infringed Art Akiane’s copyrights.

       D.      ASW Hid the True Sales from Art Akiane, and Underpaid Royalties

       65.     ASW was required to pay a 10% royalty fee to Art Akiane for items sold under the

Agreement.

       66.     Upon information and belief, ASW failed to disclose numerous sales to Art Akiane

so that ASW could avoid making royalty payments to Art Akiane as required by the Agreement.

       67.     Upon information and belief, ASW has underreported its sales and royalty

payments to Art Akiane and has kept Art Akiane’s royalty revenue for its exclusive and sole benefit

despite completing various sales to customers under the Agreement.




                                                 17
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 18 of 43 PageID #:5614




       68.       Upon information and belief, Corneliuson and ASW hid at least $464,730.26 in

undisclosed revenue they made from Akiane related products.

       69.       Upon information and belief, ASW underpaid Art Akiane at least $46,473 in

unpaid royalties.

       E.        Art Akiane’s Lost Sales and Termination of the Agreement

       70.       Upon information and belief, Corneliuson represented herself to be the sole

representative of all the Works to customers.

       71.       Corneliuson and ASW induced the public to download illegal “free” copies of

Akiane’s artwork from ASW’s website.

       72.       Corneliuson and ASW also misrepresented to the public that they are the authorized

source and representatives of Akiane’s artwork. Exhibit K.

       73.       For instance, ASW’s website states:




See Exhibit A.

       74.       Between 2011 to 2018, potential customers and art collectors who were interested

in purchasing Art Akiane’s artwork contacted Corneliuson in order to purchase original artwork.

Corneliuson would contact Art Akiane to request the price for the original artwork, without

disclosing to Art Akiane the identity of the potential customer.




                                                 18
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 19 of 43 PageID #:5615




       75.     Upon information and belief, Corneliuson would not allow further communications

between these potential customers and Art Akiane, despite Art Akiane’s willingness to negotiate

purchase terms for the artwork and the legitimate expectancy to enter into a valid business

relationship with those customers.

       76.     Art Akiane often could not contact the potential customers because Corneliuson

withheld customer contact information. Art Akiane lost sales because negotiations with potential

customers deteriorated when Art Akiane could not contact these customers.

       77.     On January 10, 2019, Art Akiane sent a letter to Corneliuson, formally notifying

her that Art Akiane would not be renewing the Agreement.

       78.     Corneliuson was upset that Art Akiane would not renew the Agreement.

       F.      Corneliuson’s and ASW’s Infringing Conduct and Willful Copying

       79.     Despite the expiration of the Agreement, Corneliuson and ASW continue to make

copies, display, and distribute the Works without authorization, including on ASW’s online store,

ASW’s Facebook page at www.facebook.com/jesusprinceofpeace, ASW’s Twitter page at

https://twitter.com/ArtnSoulworks,          ASW’s            Instagram          page           at

https://www.instagram.com/jesus_art_akiane/, and through Squareup, St. Jude Shop, Amazon,

eBay, Christianbook, Mardel, and other online stores on the internet. See, e.g. Exhibit L and

Exhibit M.

       80.     Corneliuson and ASW also modified copies of Akiane’s artwork by altering or

removing Akiane’s signature and other identifying information, and distributed the altered Works

on the internet on ASW’s Facebook page, Twitter page, Instagram page, Pinterest page, YouTube,

their online store, and other websites. See Exhibit G and Exhibit N.

       81.     Corneliuson and ASW altered or removed copyright management information from

Akiane’s artwork in at least 755 instances, publicizing those images with altered or removed


                                               19
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 20 of 43 PageID #:5616




copyright management information. Attached as Exhibit O is a table summarizing the instances

Corneliuson and ASW impermissibly published the artwork with altered or removed copyright

management information along with each of the identified instances.

       82.     Upon information and belief, the alteration or removal of copyright management

information was directed by Corneliuson, and done with the purpose of marketing and profiting

off of ASW’s association with Art Akiane.

       83.     Art Akiane never gave Corneliuson or ASW permission or authority to remove

copyright management information from the Works.

       84.     Corneliuson and ASW also created, registered, and ran unauthorized Facebook,

Twitter, Instagram, and Pinterest pages using Akiane’s likeness, and that prominently uses the

AKIANE Marks, including in the domain name for the Facebook page located at

www.facebook.com/jesusprinceofpeace. See Exhibit P.

       85.     The domains advertise the sale of the Works and uses Akiane’s likeness to promote

the sale of infringing goods.

       86.     Upon information and belief, Corneliuson and ASW maintain the Facebook,

Twitter, Instagram, and Pinterest domains solely to profit from the sale of the Works.

       87.     Upon information and belief and without Art Akiane’s authorization, Corneliuson

and ASW also published unauthorized videos displaying the Works on Corneliuson’s and ASW’s

YouTube account. Exhibit Q.

       88.     Upon information and belief and without Art Akiane’s authorization, Corneliuson

and ASW also edited Art Akiane’s documentary videos of Akiane, including the “Painting the

Impossible” documentary. Corneliuson and ASW published these edited and unauthorized videos

on Corneliuson’s and ASW’s YouTube account.




                                               20
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 21 of 43 PageID #:5617




       89.    Upon information and belief and without Art Akiane’s authorization, Corneliuson

and ASW also created “inspirational magnets” using the Works. These magnets said that Art by

Akiane was a “trademark of © Art & SoulWorks,” which is false.

       90.    An example of the magnets are found below:




       91.    Corneliuson and ASW also created, registered, and continue to run the website

domain www.jesusprinceofpeace.com, which prominently uses the AKIANE Marks, including in

the domain name.

       92.    Without Art Akiane’s authorization, Corneliuson and ASW continue to use

Akiane’s likeness and the AKIANE Marks on their domain names, websites, e-commerce sites,

and social media sites, including on their Facebook page, Twitter page, Instagram page, and

Pinterest page. See Exhibit G and Exhibit R.

       93.    Upon information and belief, Corneliuson and ASW continue to distribute, provide,

market, advertise, promote, and offer for sale the Works under the AKIANE Marks.

       94.    In the alternative or in addition, upon information and belief, Corneliuson and ASW

continue to do so willfully, despite having actual knowledge of Art Akiane’s rights under the

AKIANE Marks.


                                               21
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 22 of 43 PageID #:5618




       95.    Corneliuson and ASW

                                                           . Exhibit S.

               (Id.)

                                                                                     (Id.)

       96.

                                                     (Id.) Upon information and belief,




       97.



                                 (Id.)

       98.




       99.    Upon information and belief, Corneliuson and ASW offer and sell the Works under

the AKIANE Marks to the same types of consumers that comprise Art Akiane’s same class of

consumers and to whom Art Akiane sells the same goods to. Consumers are likely to be confused

as to the source or sponsorship of the goods, as well as the association between Corneliuson and

ASW and Art Akiane.

       100.   Corneliuson and ASW, upon information and belief, appropriated Akiane’s name

and likeness in multiple ways including, without limitation, by uploading Akiane’s images and




                                              22
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 23 of 43 PageID #:5619




name to Corneliuson’s and ASW’s publicly available YouTube channel, Facebook page, Twitter

page, Instagram page, and Corneliuson’s and ASW’s website.

       101.    In the alternative or in addition, Corneliuson and ASW, upon information and

belief, knowingly and willfully appropriated Akiane’s name and likeness in multiple ways

including, without limitation, by uploading Akiane’s images and name to Corneliuson’s and

ASW’s publicly available YouTube channel, Facebook page, Twitter page, Instagram page, and

Corneliuson’s and ASW’s website.

       102.    At all times relevant, Corneliuson participated in and supervised ASW’s infringing

activities and, due to her status as the sole member of ASW, obtained direct financial benefits from

ASW’s infringing activities, including but not limited to receipts from customers and other

monetary income from the sale and distribution of the illicit works.

       103.    Art Akiane did not authorize Corneliuson and ASW to use Akiane’s name, identity,

or likeness and Corneliuson and ASW had no consent to do so.

       104.    Upon information and belief, Corneliuson’s and ASW’s utilization of Akiane’s

name, identity, likeness, and reputation was purely for commercial purposes including, without

limitation, to offer for sale and promote Corneliuson’s and ASW’s products via Corneliuson’s and

ASW’s website, Facebook page, Twitter page, Instagram page, Pinterest page, YouTube channel,

and other channels of trade.

       105.    Upon information and belief, Corneliuson and ASW have received and continue to

receive a benefit from their utilization of Akiane’s full name, identity, likeness, and reputation

including, without limitation, internet traffic to Corneliuson’s and ASW’s social media channels

and website, increased search engine relevancy, and potential or actual customers who were




                                                23
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 24 of 43 PageID #:5620




directed to Corneliuson and ASW because of Corneliuson’s and ASW’s utilization of Akiane’s

name, identity, and likeness.

          106.   Corneliuson’s and ASW’s infringing acts as alleged above have caused and are

likely to continue to cause confusion, mistake, and deception among the relevant consuming public

as to the source or origin of Corneliuson’s and ASW’s goods and have and are likely to continue

to deceive the relevant consuming public into believing, mistakenly, that Corneliuson’s and

ASW’s goods originate from, are associated or affiliated with, or otherwise authorized by Art

Akiane.

          107.   In the alternative or in addition, upon information and belief, Corneliuson’s and

ASW’s acts are knowing, willful with the deliberate intent to trade on the goodwill of Art Akiane’s

AKIANE Marks, cause confusion and deception in the marketplace, and divert potential sales of

Art Akiane’s goods to Corneliuson and ASW.

          108.   Corneliuson’s and ASW’s acts are causing, and unless restrained, will continue to

cause damage and immediate irreparable harm to Art Akiane and to its valuable reputation and

goodwill with the consuming public for which Art Akiane has no adequate remedy at law.

                                       COUNT I
                               COPYRIGHT INFRINGEMENT
                            (AGAINST CORNELIUSON AND ASW)

          109.   Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

          110.   Art Akiane is the assignee of copyrights registered with the United States Copyright

Office.

          111.   Art Akiane is the true, rightful, and sole owner of the copyrights in the Works,

including Copyright Registration Nos. VA 1-921-911, VA 1-960-272, VA 2-142-942, VA 2-010-




                                                  24
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 25 of 43 PageID #:5621




303, VA 2-010-300, VA 1-925-543, VA 2-010-352, VA 1-924-181, VA 1-924-448, VA 1-924-

158, VA 2-011-840, VA 1-924-183, and VA 2-010-397.

       112.    By their actions alleged above, Corneliuson and ASW have infringed Art Akiane’s

copyrights by copying, reproducing, and distributing into the market infringing content including

direct copies and derivatives of the copyrighted materials.

       113.    In the alternative or in addition, by their actions alleged above, Corneliuson and

ASW willfully and knowingly infringed Art Akiane’s copyrights by copying, reproducing, and

distributing into the market infringing content including direct copies and derivatives of the

copyrighted materials.

       114.    Corneliuson and ASW without authority copied copyrighted content owned by Art

Akiane for use on websites including Corneliuson’s and ASW’s website at http://art-

soulworks.com, www.jesusprinceofpeace.com, Amazon, Facebook, Twitter, Instagram, YouTube,

and eBay.

       115.    Corneliuson and ASW without authority induced the public to download illegal

copies of Akiane’s artwork from ASW’s website, and upon information and belief, made illicit

digital copies and distributed them without authorization.

       116.    Corneliuson and ASW without authority digitally modified the Prince of Peace

work, printed it on wallet cards, added “Copyright by Arts & Soulworks,” and had the wallet cards

framed so it would look like legitimate framed artwork by Akiane, and sold and distributed them.

       117.    Corneliuson and ASW without authority printed various illicit versions of Art

Akiane’s artwork without permission, and then sold the illicit artwork to consumers and online

vendors.




                                                25
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 26 of 43 PageID #:5622




          118.   Corneliuson and ASW without authority published unauthorized videos displaying

the Works on Corneliuson’s and ASW’s YouTube account.

          119.   Corneliuson and ASW without authority edited Art Akiane’s documentary videos

of Akiane, including the “Painting the Impossible” documentary. Corneliuson and ASW published

these edited and unauthorized videos on Corneliuson’s and ASW’s YouTube account.

          120.   Corneliuson and ASW without authority printed, copied, modified, displayed,

distributed, and sold Art Akiane’s other Works.

          121.   This infringement was willful, deliberate, and done with knowledge of Art Akiane’s

rights.

          122.   Corneliuson’s and ASW’s acts of copyright infringement have caused and will

continue to cause damage to Art Akiane, in an amount to be proven at trial.

          123.   Art Akiane is entitled to, among other relief, injunctive relief and an award of actual

damages, Corneliuson’s and ASW’s profits, enhanced damages and profits, reasonable attorneys’

fees, and costs of the action, together with prejudgment and post-judgment interest.

                            COUNT II
     TRADEMARK INFRINGEMENT AND UNFAIR COMPETITION AND FALSE
                      DESIGNATION OF ORIGIN
                      (AGAINST DEFENDANTS)

          124.   Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

          125.   Corneliuson’s and ASW’s unauthorized use in commerce of the AKIANE Marks

as alleged above is likely to confuse, cause mistake, or to deceive consumers as to the origin,

source, sponsorship, or affiliation of its goods, and is likely to cause consumers to believe, contrary

to fact, that Corneliuson’s and ASW’s goods are sold, authorized, endorsed, or sponsored by Art

Akiane, or that Corneliuson and ASW are in some way affiliated with or sponsored by Art Akiane.



                                                   26
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 27 of 43 PageID #:5623




       126.    Corneliuson’s and ASW’s unauthorized use in commerce of the AKIANE Marks

as alleged above constitutes use of a false designation of origin and misleading description and

representation of fact that is likely to confuse consumers in violation of Section 43(a) of the

Lanham Act, 15 U.S.C. § 1125(a).

       127.    Corneliuson and ASW created magnets using the Works that incorrectly stated that

Art by Akiane was a “trademark of © Art & SoulWorks,” which is false. Corneliuson’s and ASW’s

unauthorized use of the Art Akiane name constitutes use of a false designation of origin and

misleading description and representation of fact that is likely to confuse consumers in violation

of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       128.    Defendants’ sold illicit artwork with AKIANE’S Marks which is likely to confuse

consumers.

       129.    Corneliuson and ASW continue to misrepresent that they are the authorized source

and representatives of Akiane’s artwork. For instance, ASW’s and Corneliuson’s website

incorrectly states: “In fact, we are the Trusted Source for ‘Prince of Peace’ high-quality

reproductions.” Exhibit A. Such misrepresentations constitute a false designation of origin and

misleading description and representation of fact that is likely to confuse consumers in violation

of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       130.    Upon information and belief, Defendants’ conduct as alleged above is likely to

cause confusion, mistake, or deception as to the affiliation, connection, or association of

Corneliuson and ASW with Art Akiane.

       131.    In the alternative or in addition, upon information and belief, Defendants’ conduct

as alleged above is knowing, willful, and is intended to and is likely to cause confusion, mistake,




                                                27
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 28 of 43 PageID #:5624




or deception as to the affiliation, connection, or association of Corneliuson and ASW with Art

Akiane.

          132.   Defendants’ conduct as alleged above constitutes unfair competition in violation of

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

          133.   Defendants’ conduct as alleged herein is causing immediate and irreparable harm

and injury to Art Akiane, and to its goodwill and reputation, and will continue to both damage Art

Akiane and confuse the public unless enjoined by this Court. Art Akiane has no adequate remedy

at law.

          134.   Art Akiane is entitled to, among other relief, injunctive relief and an award of actual

damages, Defendants’ profits, enhanced damages and profits, reasonable attorneys’ fees, and costs

of the action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with

prejudgment and post-judgment interest.

                                     COUNT III
                           COMMON LAW UNFAIR COMPETITION
                               (AGAINST DEFENDANTS)

          135.   Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

          136.   Art Akiane owns all rights, title, and interest in and to the AKIANE Marks,

including but not limited to all common law rights in such marks due to Art Akiane’s first use of

the AKIANE Marks in this district. Defendants’ unauthorized use in commerce of the AKIANE

Marks as alleged herein occurred long after Art Akiane began using the AKIANE Marks and is

likely to deceive consumers as to the origin, source, sponsorship, or affiliation of Defendants’

goods, and is likely to cause consumers to believe, contrary to fact, that Defendants’ goods are

sold, authorized, endorsed, or sponsored by Art Akiane, or that Defendants are in some way

affiliated with or sponsored by Art Akiane.


                                                   28
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 29 of 43 PageID #:5625




        137.    Upon information and belief, Defendants’ conduct as alleged herein is intended to

and is likely to cause confusion, mistake, or deception as to the affiliation, connection, or

association of Defendants with Art Akiane.

        138.    In the alternative or in addition, upon information and belief, Defendants’ conduct

as alleged herein is knowing and willful and is intended to and is likely to cause confusion, mistake,

or deception as to the affiliation, connection, or association of Defendants with Art Akiane.

        139.    By reason of their acts, Defendants have committed unfair competition under

Illinois common law.

        140.    Defendants’ conduct is causing immediate and irreparable harm and injury to Art

Akiane, and to its goodwill and reputation, and will continue to both damage Art Akiane and

confuse the public unless enjoined by this Court. Art Akiane has no adequate remedy at law.

        141.    Art Akiane is entitled to, among other relief, injunctive relief and an award of actual

damages, Defendants’ profits, enhanced damages and profits, reasonable attorneys' fees, and costs

of the action under Illinois common law, together with prejudgment and post-judgment interest.

                                   COUNT IV
                           VIOLATION OF THE ILLINOIS
                     UNIFORM DECEPTIVE TRADE PRACTICES ACT
                             (AGAINST DEFENDANTS)

        142.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

        143.    The Illinois Uniform Deceptive Practices Act (“UDPA”), 815 ILCS § 510/2, et seq.

provides that a person engages in deceptive trade practices when the person “(1) passes off goods

or services as those of another . . . (3) causes a likelihood of confusion or of misunderstanding as

to affiliation, connection or association with or certification by another; . . . [or] (5) represents that

goods or services has sponsorship, approval, characteristics, . . . that they do not have.”



                                                   29
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 30 of 43 PageID #:5626




       144.    Defendants have violated the UDPA by falsely and deceptively representing to

consumers that Art Akiane is associated with Defendants, and because Defendants have used

deception, fraud, false pretense, misrepresentation or concealment, suppression or omission of

material facts, either expressly or by implication, in causing the false association with the intent

that the public rely upon those false representations.

       145.    Defendants’ trade practice of misleadingly holding themselves out as being

associated with Art Akiane is directed to the market generally, and otherwise constitutes a

consumer protection matter because consumers need to be protected from false and misleading

advertising of the type that Defendants are engaged in.

       146.    The unauthorized use by Defendants of Art Akiane’s Works and the AKIANE

Marks is causing and is likely to cause substantial injury to the public and to Art Akiane, and Art

Akiane has no adequate remedy at law for this injury.

       147.    As a result of Defendants’ unlawful business practices, Art Akiane is entitled to an

order enjoining such future conduct, attorneys’ fees under 815 ILCS § 510/3, and such other orders

and judgments necessary.

                                       COUNT V
                                 UNJUST ENRICHMENT
                            (AGAINST ASW AND CARPENTREE)

       148.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

       149.    Art Akiane’s ownership of the rights to distribute and the rights to license the use

of the Works are valuable assets to Art Akiane.

       150.    By reproducing, distributing, and selling Art Akiane’s Works without permission

or authorization, and profiting off the Works without paying compensation to Art Akiane, ASW

and Carpentree have appropriated a valuable asset belonging to Art Akiane.


                                                  30
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 31 of 43 PageID #:5627




       151.    By failing to pay proper compensation to Art Akiane for the sale and use of the

Works, ASW and Carpentree have retained Art Akiane’s benefit and such retention violates the

fundamental principles of justice, equity and good conscience.

                                  COUNT VI
              INTEGRITY OF COPYRIGHT MANAGEMENT INFORMATION
                       (AGAINST CORNELIUSON AND ASW)

       152.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

       153.    The Works and Akiane’s artwork contain the signature or name of Akiane or Art

Akiane, which is copyright management information protected under 17 U.S.C. § 1202(b).

       154.    Upon information and belief and without Art Akiane's authorization, Corneliuson

and ASW created magnets using the Works that incorrectly said Art by Akiane was a "trademark

of © Art & SoulWorks," which is false.

       155.    Upon information and belief, Corneliuson and ASW intentionally and knowingly

removed and/or altered the copyright management information identifying Akiane or Art Akiane

as the author and owner, and distributed the same without authorization.

       156.    Corneliuson’s and ASW’s conduct alleged herein is a violation of 17 U.S.C. §

1202(b).

       157.    Corneliuson’s and ASW’s removal and/or altering of the aforementioned copyright

management information and its distribution was made without the knowledge or consent of Art

Akiane.

       158.    Upon information and belief, the removal and/or altering of the aforementioned

copyright management information and its unauthorized distribution were made by Corneliuson

and ASW to induce, enable, facilitate, or conceal its infringement of Art Akiane’s copyrights.




                                                31
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 32 of 43 PageID #:5628




       159.    Corneliuson and ASW also knew, or should have known, that such removal of said

copyright management information would induce, enable, facilitate, or conceal their infringement

of Art Akiane’s copyrights.

       160.    As a result of the wrongful conduct of Corneliuson and ASW, Art Akiane is entitled

to recover from Corneliuson and ASW the damages that Art Akiane sustained and will sustain,

and any gains, profits and advantages obtained by Corneliuson and ASW because of its violations

of 17 U.S.C. § 1202, including attorney’s fees and costs.

       161.    Alternatively, Art Akiane may elect to recover from Corneliuson and ASW

statutory damages pursuant to 17 U.S.C. § 1203(c)(3) in a sum of at least $2,500 up to $25,000 for

each violation of 17 U.S.C. § 1202.

                            COUNT VII
   VIOLATION OF THE LANHAM ACT – ANTI-CYBERSQUATTING CONSUMER
                         PROTECTION ACT
                          (AGAINST ASW)

       162.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

       163.    At the time of ASW’s registration or first use of its domain names, including its

Facebook domain name, Instagram domain name, and the www.jesusprinceofpeace.com domain

name, each of the AKIANE Marks was distinctive.

       164.    ASW’s domain names are identical or confusingly similar to the AKIANE Marks.

       165.    ASW has registered, trafficked in, or used the domain names with a bad faith intent

to profit from the AKIANE Marks in violation of 15 U.S.C. § 1125(d).

       166.    ASW’s bad faith intent is demonstrated by numerous factors, including the

following:




                                                32
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 33 of 43 PageID #:5629




               a.      ASW intends to divert consumers from Art Akiane’s online location to a

                       site accessible under its own domain names that could harm the goodwill

                       represented by the AKIANE Marks, either for ASW’s commercial gain or

                       with the intent to tarnish or disparage the AKIANE Marks, by creating a

                       likelihood of confusion as to the source, sponsorship, affiliation, or

                       endorsement of the site accessible under ASW’s domain names; and

               b.      ASW knows that its domain names are identical or confusingly similar to

                       the AKIANE Marks.

       167.    Upon information and belief, ASW’s actions have been and are willful, deliberate,

and done with knowledge of Art Akiane’s rights.

       168.    Art Akiane has no adequate remedy at law. Unless enjoined by this Court, Art

Akiane will continue to do the acts complained of in this Complaint and cause damage and injury,

all to Art Akiane’s irreparable harm and to ASW’s unjust enrichment.

                            COUNT VIII
   TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
                      (AGAINST CORNELIUSON)

       169.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

       170.    Art Akiane had a reasonable business expectancy of entering into a valid business

relationship with customers with whom Art Akiane would have sold artwork to.

       171.    Corneliuson had knowledge of this expectancy, which knowledge Corneliuson

acquired because she facilitated communications between Art Akiane and the potential customers.

       172.    Upon information and belief, through dishonest, unfair, and/or improper means,

Corneliuson intentionally interfered with Art Akiane’s prospective relationships with these




                                                33
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 34 of 43 PageID #:5630




customers, including by preventing further communications between Art Akiane and the potential

customers.

       173.    Corneliuson’s interference caused injury to Art Akiane’s prospective relationships

with these customers.

       174.    Art Akiane has no adequate remedy at law for Corneliuson’s tortious conduct.

Unless Corneliuson is enjoined by the Court, Art Akiane will continue to suffer irreparable harm.

       175.    Under Illinois law, Art Akiane may elect to recover exemplary and punitive

damages and attorneys’ fees from Corneliuson for her willful, intentional, and tortious acts.

                                  COUNT IX
              VIOLATION OF THE ILLINOIS RIGHT OF PUBLICITY ACT
                      (AGAINST CORNELIUSON AND ASW)

       176.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

       177.    Corneliuson’s and ASW’s unauthorized use of Akiane’s identity for commercial

purposes is a violation of the Illinois Right of Publicity Act, 765 ILCS § 1075/1-60.

       178.    Corneliuson’s and ASW’s use of Akiane’s identity was unauthorized because

Corneliuson and ASW did not obtain Art Akiane’s consent to use Akiane’s identity in connection

with any advertisement.

       179.    In the alternative or in addition, upon information and belief, Corneliuson’s and

ASW’s use of Akiane’s identity was knowing and willful because they used Akiane’s identity

intentionally and with knowledge that its use was not authorized.

       180.    Art Akiane has been damaged by Corneliuson’s and ASW’s unauthorized use of

Akiane’s identity. Art Akiane has no adequate remedy at law.




                                                34
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 35 of 43 PageID #:5631




        181.   Unless enjoined by this Court, Corneliuson and ASW will continue to do the acts

complained of in this Complaint and cause damage and injury, all to Art Akiane’s irreparable harm

and to Corneliuson’s and ASW’s unjust enrichment.

        182.   Art Akiane may elect to recover statutory damages from Corneliuson and ASW

pursuant to 765 ILCS § 1075/40 in a sum of at least its actual damages, profits derived from the

unauthorized use, or both, and punitive damages.

                                   COUNT X
                     CONTRIBUTORY COPYRIGHT INFRINGEMENT
                             (AGAINST DEFENDANTS)

        183.   Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

        184.   Corneliuson and ASW printed various illicit and counterfeit versions of Art

Akiane’s artwork without permission, and then sold the illicit artwork to consumers on ASW’s

website via various vendors, including Defendant Carpentree.

        185.   Carpentree then sold the illicit and counterfeit artwork to consumers and other

resellers.

        186.   Corneliuson, ASW, Carpentree, and Hobson also took postcards and wallet cards

and framed them to look like legitimate framed artwork by Akiane, in order to deceive customers

into thinking that they were purchasing legitimate artwork by Akiane, and sold them to consumers

without authority to do so.

        187.   Corneliuson’s and ASW’s illicit artwork were of an inferior quality.

        188.   Carpentree’s sales to consumers and other resellers were illicit and not approved by

Art Akiane and the copying, modification, redistribution, and sale of Art Akiane’s work directly

infringed Art Akiane’s copyrights.




                                                35
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 36 of 43 PageID #:5632




       189.    On information and belief, Corneliuson and ASW had knowledge of Carpentree’s

infringing activities, while Hobson condoned and participated in Carpentree’s infringing activities.

       190.    Corneliuson and ASW have contributorily infringed Art Akiane’s copyrights and

exclusive rights under copyright when they on information and belief knowingly and intentionally

facilitated, encouraged, allowed, assisted, and induced Carpentree to infringe Art Akiane’s

copyrights.

       191.    On information and belief, Defendants have directly profited from Carpentree’s and

Hobson’s unauthorized and illegal use of Art Akiane’s copyrights.

       192.    The infringement of Art Akiane’s rights in each of its copyrighted work constitutes

a separate and distinct act of infringement.

       193.    Defendants’ contributory infringement was reckless, intentional, and/or purposeful,

in disregard of, and indifferent to, the rights of Art Akiane.

       194.    In the alternative or in addition, Defendants’ contributory infringement was

knowingly and willful because Defendants infringed with knowledge of Art Akiane’s rights and

with the intent to avoid compensating Art Akiane.

       195.    As a direct and proximate result of Defendants’ contributory infringement of Art

Akiane’s copyrights and exclusive rights under copyright, Art Akiane is entitled to damages and

Defendants’ profits pursuant to 17 U.S.C. § 504(b) for each act of infringement.

       196.    Art Akiane is further entitled to its reasonable attorneys’ fees, and costs of the

action, together with prejudgment and post-judgment interest.

                                   COUNT XI
                    INDUCEMENT OF COPYRIGHT INFRINGEMENT
                        (AGAINST CORNELIUSON AND ASW)

       197.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.


                                                 36
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 37 of 43 PageID #:5633




        198.    Corneliuson and ASW printed various illicit and counterfeit versions of Art

Akiane’s artwork without permission, and then sold the illicit artwork to consumers on ASW’s

website via various vendors, including Defendant Carpentree.

        199.    Carpentree then sold the illicit and counterfeit artwork to consumers and other

resellers.

        200.    Corneliuson, ASW, and Carpentree also took postcards and wallet cards and framed

them to look like legitimate framed artwork by Akiane, in order to deceive customers into thinking

that they were purchasing legitimate artwork by Akiane.

        201.    On information and belief, Corneliuson and ASW had knowledge of Carpentree’s

infringing activities.

        202.    On information and belief, Corneliuson and ASW directed and participated in, and

benefited from, Carpentree’s infringing conduct as alleged herein, and has been the guiding spirit

behind and central figure in Carpentree’s infringing activities.

        203.    Corneliuson’s and ASW’s acts alleged herein were in reckless disregard of, and

indifferent to, or intentionally against, the rights of Art Akiane.

        204.    In the alternative or in addition, Corneliuson’s and ASW’s acts alleged herein were

knowing and willful because Corneliuson and ASW had personal knowledge of Art Akiane’s

rights and deliberately ignored those rights for their own profit.

        205.    As a direct and proximate result of Corneliuson and ASW inducing the

unauthorized copying, redistribution, and sale of Akiane’s copyrights and exclusive rights under

copyright, Art Akiane is entitled to damages and Corneliuson’s and ASW’s profits pursuant to 17

U.S.C. § 504(b) for each act of infringement.




                                                  37
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 38 of 43 PageID #:5634




         206.   Art Akiane is further entitled to its reasonable attorneys’ fees, and costs of the

action, together with prejudgment and post-judgment interest.

                                        COUNT XII
                                   BREACH OF CONTRACT
                                      (AGAINST ASW)

         207.   Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

         208.   Art Akiane and ASW entered into a valid and enforceable Agreement.

         209.   ASW was required to pay a 10% royalty fee to Art Akiane for items sold under the

Agreement.

         210.   Upon information and belief, ASW failed to disclose numerous sales to Art Akiane

so that ASW could avoid making royalty payments to Art Akiane as required by the Agreement.

         211.   Upon information and belief, ASW has underreported its sales and royalty

payments to Art Akiane and has kept Art Akiane’s royalty revenue for its exclusive and sole benefit

despite completing various sales to customers under the Agreement.

         212.   Upon information and belief, Corneliuson and ASW hid at least $464,730.26 in

undisclosed revenue they made from Akiane related products.

         213.   Upon information and belief, ASW underpaid Art Akiane at least $46,473 in unpaid

royalties.

         214.   ASW has breached the Agreement because it has not paid royalties that are

rightfully owed to Art Akiane under the Agreement.

         215.   Accordingly, Art Akiane is entitled to recover damages from ASW in an amount to

be determined at trial, and is entitled to reasonable sums for attorneys’ fees in the discretion of the

Court.




                                                  38
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 39 of 43 PageID #:5635




                                     COUNT XIII
                              COPYRIGHT INFRINGEMENT
                          (AGAINST CARPENTREE AND HOBSON)

          216.   Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

          217.   Art Akiane is the assignee of copyrights registered with the United States Copyright

Office.

          218.   Art Akiane is the true, rightful, and sole owner of the copyrights in the Works,

including Copyright Registration Nos. VA 1-921-911, VA 1-960-272, VA 2-142-942, VA 2-010-

303, VA 2-010-300, VA 1-925-543, VA 2-010-352, VA 1-924-181, VA 1-924-448, VA 1-924-

158, VA 2-011-840, VA 1-924-183, and VA 2-010-397.

          219.   By their actions alleged above, Carpentree and Hobson have infringed Art Akiane’s

copyrights by copying, modifying, framing, and reproducing and distributing into the market

infringing content.

          220.   In the alternative or in addition, by their actions alleged above, Carpentree and

Hobson knowingly and willfully infringed Art Akiane’s copyrights by copying, modifying,

framing, and reproducing and distributing into the market infringing content with knowledge that

they are either direct copies or derivatives of the copyrighted materials

          221.   Carpentree and Hobson without authority copied copyrighted content owned by Art

Akiane for use in commerce, including on Carpentree’s website at https://www.carpentree.com.

          222.   Carpentree’s and Hobson’s acts of copyright infringement have caused and will

continue to cause damage to Art Akiane, in an amount to be proven at trial.

          223.   Carpentree’s and Hobson’s acts of copyright infringement have caused and will

continue to cause damage to Art Akiane, in an amount to be proven at trial.




                                                  39
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 40 of 43 PageID #:5636




       224.    Art Akiane is entitled to, among other relief, injunctive relief and an award of actual

damages, Carpentree’s and Hobson’s profits, enhanced damages and profits, reasonable attorneys’

fees, and costs of the action, together with prejudgment and post-judgment interest.

                                    REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, Art Akiane respectfully request that this Court:

       A.      Enter judgment in favor of Art Akiane on Counts I-XIII;

       B.      Award Art Akiane its actual damages against Defendants in an amount to be

determined at trial;

       C.      Award Art Akiane with Defendants’ profits from its aforementioned activities;

       D.      Award Art Akiane with punitive damages against Defendants;

       E.      Award Art Akiane with statutory damages;

       F.      Award Art Akiane all of its costs and reasonable attorneys’ fees in this action as

authorized by 17 U.S.C. § 1203, 765 ILCS § 1075/55, 815 ILCS § 510/3 and other applicable laws;

       G.      Award Art Akiane with pre- and post-judgment interest at the maximum legal rate

and costs;

       H.      Award Art Akiane an accounting for damages and for all the profits together with

those profits lost by Art Akiane due to Defendants’ misconduct alleged herein;

       I.      Preliminarily and permanently enjoin Defendants, and their predecessors,

successors, divisions, subsidiaries, or joint ventures thereof, together with any and all parent or

affiliated companies or corporations, and all officers, directors, employees, agents, attorneys,

representatives, those acting in privity or concert with them, or on their behalf, from:

               i.      Displaying, copying, distributing, promoting, offering, disseminating, or

                       selling Art Akiane’s copyrighted materials or any modification, derivation,

                       or reproduction thereof;


                                                  40
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 41 of 43 PageID #:5637




              ii.     Representing that Defendants have any rights to Art Akiane’s copyrights,

                      including ownership, license, or any other right;

              iii.    Using Akiane’s identity without prior authorization; and

              iv.     Doing and engaging in any of the acts described above and directing

                      Defendants to conform with each and every provision of this prayer for

                      relief;

       J.     Directing that Defendants recall and deliver up for destruction all goods, packaging,

advertisements, promotions, signs, displays, and related materials incorporating or bearing the

mark AKIANE or any other marks that are a counterfeit, copy, confusingly similar variation, or

colorable imitation of the AKIANE Marks or Works;

       K.     Directing Defendants to transfer and assign all rights and control to any webpage

and social media site that is likely to cause confusion, mistake or to deceive consumers with the

AKIANE Marks;

       L.     Directing Defendants to provide an accounting of all products ever sold

incorporating the Works, including the products:

              i.      currently in Defendants’ inventory;

              ii.     sold by Defendants since January 11, 2007, whether directly or indirectly;

              iii.    taken into inventory by Defendants; and

              iv.     ordered by or on behalf of Defendants (including units for which a purchase

                      order has been submitted, which are currently being loaded for shipment, or

                      which are currently en route for delivery), including listing all lot or serial

                      numbers of said products as applicable; and




                                                41
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 42 of 43 PageID #:5638




       M.        Grant to Art Akiane such other relief as may be just and warranted under the

circumstances.

                                       JURY DEMAND

       Plaintiff Art Akiane LLC hereby demands a jury trial on all issues so triable.

 Dated: February 27, 2020                         Respectfully submitted,

                                                  ART AKIANE LLC,

                                                  By: /s/ Adam Wolek
                                                  Adam Wolek
                                                  Marcus S. Harris
                                                  TAFT STETTINIUS & HOLLISTER LLP
                                                  111 E. Wacker Drive, 28th Floor
                                                  Chicago, Illinois 60601
                                                  Phone: (312) 836-4063
                                                  Fax: (312) 966-8598
                                                  awolek@taftlaw.com
                                                  mharris@taftlaw.com

                                                  Counsel for Plaintiff and Counter-Defendant
                                                  Art Akiane LLC




                                               42
  Case: 1:19-cv-02952 Document #: 96 Filed: 02/27/20 Page 43 of 43 PageID #:5639




                                CERTIFICATE OF SERVICE

        I hereby certify that on February 27, 2020, the foregoing was filed with the Clerk of Court

via CM/ECF, which provided notice of the same to all parties who have made an appearance in

this case.


                                                     /s/ Adam Wolek
26782879.2




                                                43
